                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :   Case No. 1:21-cr-225 (DLF)
       v.                                     :
                                              :   [PROPOSED] ORDER
TRENISS JEWELL EVANS III,                     :
                                              :
              Defendant.                      :

       Upon consideration of the defendant’s motion for an extension of time to file sentencing

material and to adjourn sentencing, it is hereby ORDERED that the motion is DENIED.

       Dated this ______ day of June, 2022.




                                                  DABNEY L. FRIEDRICH
                                                  UNITED STATES DISTRICT JUDGE
                                                  UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF COLUMBIA
